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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                            10/19/2020
- - - - - - - - - - - - - - - - - -X
                                   :
UNITED STATES OF AMERICA                         PROTECTIVE ORDER
                                   :
       -v.-
                                   :             20 Cr. 513 (AT)
EVA CHRISTINE RODRIGUEZ and
SERGIO LORENZO RODRIGUEZ,          :

                      Defendants.         :

                                   :
- - - - - - - - - - - - - - - - - -X


THE HONORABLE ANALISA TORRES, United States District Judge:


     WHEREAS EVA CHRISTINE RODRIGUEZ and SERGIO LORENZO RODRIGUEZ,

the defendants, have sought certain discovery materials from the

Government pursuant to Federal Rule of Criminal Procedure 16 (“Rule

16”),   that    contain     and/or     reflect        personal      identifying

information, such as names, dates of birth and social security

numbers, and other confidential information, such as mortgage and

other financial account records, for or relating to individuals

other than the defendants;

     WHEREAS the Government intends to produce certain of these

materials in response to the defendants’ discovery requests;

     WHEREAS   pursuant    to   Federal       Rule    of    Criminal   Procedure

16(d)(1) and 18 U.S.C. § 3771, the Government desires to protect

personal    identifying      information        and        other   confidential

information contained in the materials it produces, and the parties
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agree    that      this   Order    is   necessary    and    appropriate    for   that

purpose;

       IT IS HEREBY ORDERED:

       1.       Discovery materials produced by the Government pursuant

to its discovery obligations to the defendants or their counsel

that    contain       and/or   reflect    personal        identifying    information

and/or        confidential        information       are     deemed   “Confidential

Information.”         To designate material covered by this Order, the

Government shall so designate, on the material itself, in an

accompanying cover letter, or on a disk cover, by using the

following        designation:     “Confidential      Information     –   Subject   to

Protective Order.”

        2.      Confidential Information disclosed to the defendants or

their counsel pursuant to this Order:

                (a)   Shall be used only in connection with proceedings

in United States v. Eva Christine Rodriguez and Sergio Lorenzo

Rodriguez, 20 Cr. 513 (AT);

                (b)   Shall be kept in the sole possession of the

defendants’ counsel or the defendants;

                (c)   Shall not be copied or otherwise recorded by the

defendants;

                (d)   Shall not be disclosed in any form by the defendants

(including to the defendants’ relatives) or by their counsel except

as set forth in paragraph 2(e) below;

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              (e)   May be disclosed only by the defendants’ counsel

and   only     to   the    following    persons      (hereinafter        “Designated

Persons@):

                    (i)     the defendants;

                    (ii)    investigative,          secretarial,          clerical,

                            paralegal   and      student      personnel    employed

                            full-time   or      part-time     by   the   defendant=s

                            attorney;

                    (iii) independent expert witnesses, investigators

                            or advisors retained by the defendant in

                            connection with this action;

                    (iv)    potential fact witnesses;

                    (v)     such   other       persons   as   hereafter     may   be

                            authorized by the Court upon such motion by

                            the defendant;

              (f)   Shall be either (i) returned to the Government

following the conclusion of this case, together with any and all

copies thereof, or (ii) destroyed together with any and all copies

thereof, with defendants’ counsel verifying in writing to the

Government that such destruction has taken place;

      3.      The defendants and their counsel shall provide a copy of

this Order to Designated Persons to whom Confidential Information

is disclosed pursuant to paragraphs 2(e). Designated Persons shall

be subject to the terms of this Order.

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     4.      If   Marne   Lenox,   Esq.,      is   relieved   as   counsel   for

defendant Eva Christine Rodriguez, or if Irving Cohen, Esq. is

relieved as counsel for defendant Sergio Lorenzo Rodriguez, then

the Confidential Information and any copies thereof in the relieved

counsel’s possession will be returned to the Government by the

relieved counsel unless replacement counsel agrees to be subject

to this Order.

     5.      The provisions of this Order shall not be construed as

preventing     the   disclosure    of   any    information    in   any   motion,

hearing, trial, or sentencing proceeding held in this action, or

to any judge or magistrate of this Court for purposes of this

action.

Dated:    New York, New York
          October __19_, 2020



                                            SO ORDERED:




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